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 1
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 4 Email: raypatricia@yahoo.com
 5 Attorney for Plaintiff
 6 Ningbo Bonny e-Home Company Ltd.
 7                                     UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF PENNSYLVANIA
 8
 9   NINGBO BONNY E-HOME CO.,                     Case No. 2:24-cv-00568=CB
10   LTD.

11
12                       Plaintiff,
13   v.
14
     ONDWAY, POOLCLEAN US
15   STORE, USA WAREHOUSE,
     BOWANJIE, INPOOL US STORE,
16
     DEWFOND, DIGIGER,
17   MOTOBUDDY STORE, and et al.
18   Individual, Partnerships
                       Defendants.
19
20
21
22          REVISED MOTION FOR AN ORDER AUTHORIZING ALTERNATIVE
            SERVICE OF THE AMENDED COMPLAINT AND SUMMONS
23
24
            This is Plaintiff’s Revised Motion for An Order Autorizing Alternative Service of the
25
            Amended Complaint and Summons, this revision the original motion for alternative
26
27          service that is intended to comport with this Courts Order ECF No 10 dated March
28
                                       RERREVISED MOTION
                                               -1-
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 1   7, 2025. In Order No 10 the Court indicated that Plaintiff’s Motion was deficient.
 2
     This revision makes corrections as follows:
 3
 4   (1)      The Revised Motion is retitled and is not called ex parte.
 5   (2)      The list of email addresses is complete as shown in Attachment A.
 6
     (3)      A website www.raychaniplaw.com is hereby identified as where the Complaint
 7
     and Summons are posted and may be accessed by the Defendants
 8
     (4)      A proposed order is included.
 9
     (5)      A signed declaration of Counsel is provided.
10
11
     BACKGROUND
12
13         1. Plaintiff filed a Complaint for design patent infringement on April 16, 2024,
14
              naming    the eight above captioned Defendants. On May 19, 2024, Plaintiff
15
              filed an Amended Complaint which made corrections to the Plaintiff’s name.
16
17            The original name of Plaintiff Ningo Bonny E-Home Co. Ltd) was corrected to
18
              NINGBO DONGCHUAN SWIMMING POOL EQUIPMENT CO., LTD. Along
19
              with the Complaint, Plaintiff filed a Revised Summons that corrected Plaintiff’s
20
21            name.
22
23
           2. On July 19, 2024, Plaintiff filed a motion with the Court requesting an
24
25            order authorizing “alternate service of process” of the Complaint and Summons
26
              on Defendants ONDWAY, POOLCLEAN US STORE, USA WAREHOUSE,
27
28

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 1       BOWANJIE,       INPOOL      US       STORE,    DEWFOND,        DIGIGER,      and
 2
         MOTOBUDDY STORE, pursuant to Federal Rules of Civil Procedure 4(f)(3).
 3
 4       In that motion, Plaintiff explained that the Defendants promote selling and
 5       distribute infringing, offering through retail sites on-line and distributing
 6
         unauthorized infringing products and that Defendants operate-commerce in a
 7
 8       manner that allows for electronic commerce and email. However, Defendant’s
 9       ecommerce site does not provide information that would allow for service by
10
         mail or under the Hague Convention. As such, Plaintiff requires an alternative
11
12       method of providing service. In fact, Defendants transact their business by
13
         electronic methods including email contacts that are provided on their
14
         ecommerce sites.
15
16
17
      3. Plaintiff’s motion requested that, pursuant to Federal Rule of Civil Procedure
18
         4(f)(3), the Court issue an order authorizing service of process on Defendants
19
20       via electronic communication and respectfully submitted that an Order allowing
21
         service of process and future filings via e-mail and by publication on a
22
         designated website: www. raychaniplaw.com will benefit all parties and the
23
24       Court by ensuring Defendants receive immediate notice of the pendency of this
25
         action and allowing this action to move forward expeditiously. Absent the
26
27       ability to serve Defendants by email and/or website publication, Plaintiffs would

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 1       almost certainly be left without the ability to pursue a remedy. The request was
 2
         made in accordance with FRCP 4(f)(3) which states that service may be made
 3
 4       on foreign defendants by other means not prohibited by international agreement,
 5       as the court orders.
 6
 7
 8    4. Plaintiff asserted in the motion and continues to assert that there are adequate
 9       means for electronic contact with Defendants because they operate an operate
10
         an Internet-based businesses using electronic means of communication such that
11
12       Plaintiff will be able to provide Defendant with both notice by publication and
13
         notice of this action via e-mail. As a practical matter Defendants generally must
14
         maintain accurate e-mail addresses where their marketplace platforms and
15
16       payment processors may communicate with them regarding issues related to
17
         their e-commerce offerings and transfer of funds for the payment for goods.
18
      5. Defendants Rely on Electronic Communications
19
20       Defendants have structured their e-commerce businesses so that the principal
21
         means for customers to purchase their offending goods at issue is by placing an
22
         order electronically. Defendant takes and confirms orders online and relies on
23
24       electronic means to receive a payment. In this manner Plaintiff will be able to
25
         provide Defendant with electronic notice of the Summons, Complaint and all
26
27       documents filed in notice of this action.

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 1   THE REQUEST IN THIS REVISED MOTION
 2
     6, Plaintiff hereby submits its REVISED MOTION FOR AN ORDER
 3
     AUTHORIZING ALTERNATIVE SERVICE PURSUANT TO FEDERAL RULE
 4
     OF CIVIL PROCEDURE 4 (f) (3) requesting alternative service by email and
 5
     publication having corrected the deficiencies identified by the Court in Order No. 10
 6
 7
 8                                     ARGUMENT

 9
10
     The Court May Authorize Service via Electronic Mail and Website Publication
11
     Pursuant to Federal Rule of Civil Procedure 4(f)(3).
12
13
14   Fed. R. Civ. P. 4(f)(3) enables a foreign business entity to be served with process using

15   an alternative method of service so long as the alternative method: (1) “is not
16
     prohibited by international agreement” and (2) “comports with constitutional notions
17
18   of due process”. Henry F. Teichmann, Inc. v. Caspian Flat Glass, No. 13-cv-458, 2013
19   WL 1644808 at *1, *2 (W.D. Pa. April 16, 2013) (Hornak, J.). Notably, “[s]service
20
     under subsection [4(f)] (3) is neither a last resort nor extraordinary relief. It is merely
21
22   one means among several which enables service of process on an international
23   defendant.” Sulzer Mixpac AG v. Medenstar Indus. Co., 312 F.R.D. 329, 330 (S.D.N.Y
24
     2015). Since third- party merchants on Internet marketplaces, like Defendant, have
25
26   been known to use incomplete identification information to shield their true identities
27   and there are, in fact, not any genuine physical addresses associated with the majority
28

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 1   of Defendants…this is exactly the circumstance where the courts should exercise, as
 2
     they previously have exercised, the authority to grant alternative methods of service.
 3
 4   Fed. R. Civ. P. 4(f)(3) permits service in a place not within any judicial district of the
 5   United States “by any internationally agreed means of service that is reasonably
 6
     calculated to give notice”. See Rio Props. v. Rio Intern. Interlink, 284 F. 3d 1007, 1014
 7
 8   (9th Cir. 2002). The Ninth Circuit in the Rio Props case- similarly involving Internet
 9   business-- held that e-mail service of an online business defendant “was
10
     constitutionally acceptable.” Rio Props at 1017. The Rio Props Court reached this
11
12   conclusion because the defendant conducted its business over the Internet, used e-mail
13
     regularly in its business, and encouraged parties to contact it via e-mail. Rule 4 does
14
     not require that a party attempt service of process by other methods enumerated in
15
16   Rule 4(f) before petitioning the court for alternative relief under Rule 4(f)(3). Rio
17
     Props., 284 F. 3d at 1014-15, explaining that Rule 4(f) does not create a hierarchy of
18
     preferred methods of service of process. The plain language of the Rule requires only
19
20   that service be directed by the court and not be prohibited by international agreement.
21
     There are no other limitations or requirements.
22
     Alternative Service Comports With Due Process
23
24   Alternative service under Rule 4(f)(3) is neither a “last resort” nor “extraordinary
25
     relief,” but is rather one means among several by which an international defendant
26
27   may be served. As such, this Court may allow Plaintiff to serve the defendants via

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 1   electronic publication and/or e-mail. Additionally, the Constitution itself does not
 2
     mandate that service be effectuated in any particular way. Rather, Constitutional
 3
 4   due process considerations require only that the method of service selected be
 5   “reasonably calculated, under all the circumstances, to apprise interested parties of
 6
     the pendency of the action and afford them an opportunity to present their
 7
 8   objections.” Rio Props., Inc., 284 F.3d at 1016. Here, service on Defendants by e-
 9   mail and/or by publication on Plaintiff’s Website will satisfy due process by
10
     apprising them of the action and giving them the opportunity to answer Plaintiff’s
11
12   claims. Based upon Plaintiff’s investigation, Defendant has this one form of
13
     electronic means of contact, which is the most reliable means of providing
14
     Defendants with notice of this action.
15
16   In cases that factually resemble this one, a number of Courts, including this District
17
     have allowed that alternate forms of service pursuant to Rule 4(f)(3), are appropriate
18
     and may be the only means of effecting service of process “when faced with an
19
20   international e-business scofflaw.” TracFone Wireless, Inc., 278 F.R.D. at 693
21
     (finding that service of process by e-mail was reasonably calculated to apprise the
22
     defendants of the action and give it an opportunity to respond). This Court has
23
24   authorized electronic service of process on merchants on Internet marketplaces in
25
     cases that are factually similar to the present case. See, e.g., Rapid Slicer v. Buyspry,
26
27   No. 19-cv-249 (Order Authorizing Alternative Service entered on March 11, 2019)

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 1   (Horan, J). More recently service was authorized by email and publication in
 2
     Broadway Pine Brands LLC v. oatslikeme, 2023 WL 9067377, *5 (W.D. Pa. Oct. 11,
 3
 4   2023) stating:
 5                “Plaintiff shall serve copies of the Complaint, the Application, this
 6
              Order, and any Discovery on each Defendant via their corresponding
 7
 8            email/online contact form provided on the Internet based e-commerce stores
 9            operating under the respective Seller IDs, or by providing a copy of this
10
              order by e-mail to the marketplace platform, which in turn notifies each
11
12            Defendant of the Order, or by other means reasonably calculated to give
13
              notice which is permitted by the Court.
14
                  In addition, Plaintiff shall post copies of the Complaint, Application, this
15
              Order, any Discovery, and all other pleadings and documents filed in this
16            action on a website designated by Plaintiff, and shall provide the website
17            address to Defendants via e-mail/online contact form, and such notice so
18            given shall be deemed good and sufficient service thereof. Plaintiff shall
              continue to provide notice of these proceedings and copies of the documents
19            on file in this matter to Defendants by regularly updating the website
20            designated by Plaintiff or by other means reasonably calculated to give notice
21            which is permitted by the Court.”

22
           Similarly in this District, Judge Weigand allowed for alternative service in
23
           Aquapaw Brands LLC v. Flopet, 2022 WL 3019804, at *4 (W.D. Pa. Jul. 29,
24
25         2022), citing Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314,
26
           70 S. Ct. 652, 94 L. Ed. 865 (1950), and stating that FRCP Rules 4(h)(2) and
27
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 1        4(f)(3) together provide that a party may serve an individual or a business entity
 2
          at a place not within any judicial district of the United States by means not
 3
 4        prohibited by international agreement, stating: “…Here, (in Mullane) the Court
 5        authorized alternative service, finding that service by e-mail and website
 6
          publication was reasonably calculated to apprise the interested parties of the
 7
 8        pendency of this action and afford them an opportunity to present their
 9        objections. “
10
     E-mail and Publication Service Are Not Prohibited by International Agreement.
11
12
          In Aquapaw v. Flopet, Judge Weigand also addressed the question of whether
13
14        service by email is prohibited by international agreement, stating “Finally,
15
          service by e-mail and website publication is not prohibited by international
16
          agreement. See Henry F. Teichmann, Inc. v. Caspian Flat Glass OJSC, No.
17
18        2:13-cv-458, 2013 U.S. Dist. LEXIS 54299, *3-6 (W.D. Pa. Apr. 16,
19
          2013) (Hornak, C.J.); see also Stat Med. Devices, Inc. v. HTL-Strefa, Inc., No.
20
          15-cv-20590, 2015 U.S. Dist. LEXIS 122000, at *9-11 (S.D. Fla. Sept. 14,
21
22        2015); FTC v. PCCare247 Inc., No. 12-cv-7189, 2013 U.S. Dist. LEXIS 31969,
23
          at *10 (S.D.N.Y. Mar. 7, 2013). Therefore, service was proper in this case
24
          (Aquapaw).”
25
26
27
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 1   In parallel to these previous cases, service via e-mail is not prohibited by
 2
     international agreement in the case at hand. Based upon the information contained on
 3
 4   Defendants’ e-commerce marketplace stores. Plaintiff believes that Defendants
 5   reside in the People’s Republic of China (“China”), or other foreign jurisdictions,
 6
     and/or redistribute products from sources in those locations. (Ray Declaration) The
 7
 8   Hague Service Convention does not preclude the Court from authorizing service of
 9   process via e-mail or website publication.1
10
11
12
13
14
15
16   1
        Alternative means of service, such as e-mail, are not prohibited by the Hague Service
     Convention where a signatory nation has not expressly objected to those means. See Stat Med.
17   Devices, Inc. v. HTL-Strefa, Inc., Case No. 15-cv-20590-FAM, 2015 U.S. Dist. LEXIS 122000
18   (S.D. Fla. Sept. 14, 2015) . Article 10 to the Hague Service Convention allows service of process
     through means other than a signatory’s Central Authority, such as “postal channels” and
19   “judicial officers,” provided the State of destination does not object to those means. See Hague
     Convention, Art. 10, 20 U. S. T. 361 (1969).
20    China has objected to the alternative means of service outlined in Article 10 of the Convention.
     However, that objection is specifically limited to the means of service enumerated in Article 10,
21   and China has not expressly objected to service via e-mail or website publication. Because the
     declaration to the Hague Convention filed by China does not object to e-mail and website
22   publication service, “a court acting under Rule 4(f)(3) remains free to order alternative means of
23   service that are not specifically referenced in Article [10].” Gurung v. Malhotra, 279 F.R.D. 215,
     219 (S.D.N.Y. 2011); see also WhosHere, Inc. v. Orun, Case No. 13-cv-00526-AJT, 2014 U.S.
24   Dist. LEXIS 22084, at *9 (E.D. Va. Feb. 20, 2014) (authorizing e-mail service, noting objection
     to means of service listed in Article 10 “is specifically limited to the enumerated means of service
25   in Article 10.”). Consequently, China’s objections to the means of alternative service provided in
     Article 10 are no bar to court-directed service and do not prevent this Court from authorizing
26   alternative service of process via e-mail or website publication. Stat Med. Devices, Inc., 2015
     U.S. Dist. LEXIS 122000, at 8-9
27
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 1                                     CONCLUSION
 2        For the foregoing reasons, Plaintiff respectfully requests this Court grant the present
 3        REVISED MOTION FOR AN ORDER AUTHORIZING ALTERNATIVE
 4        SERVICEOF THE AMENDED COMPLAINT AND SUMMONS.
 5        And thereby authorize service of the Summons, the Complaint, discovery, and future
 6        filings in this matter upon each Defendant in this action via e-mail to Defendants online
 7        accounts as listed and shown in Attachment A and also by publication at the designated
 8        website www.raychaniplaw.com.
 9
10
11
12
     Dated: March 18, 2025                   RAYCHAN I.P. LAW FIRM, PLLC
13
14
15                                           /s/ Patricia Ray

16                                           Attorney for Plaintiff
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 1   ATTACHMENT A: Online contacts and emails for Defendants
 2
     ONDWAY 1224597612@qq.com, lorien7832@163.com, zekes@qq.com
 3
 4   POOLCLEAN US STORE https://www.Amazon,com/Peoffessional-
     Swimming=Hemispherical Aluminum=Bristles/dp/B0C1BYLN4Q/ref=sr_1 5?
 5   crid=223FLIAXC87QTK&KEYWORDS=POOL%2Bbrush&qid+1685605&th=1
 6
     USA WAREHOUSE
 7   https://www.amazon.com/dp/B0BXKPZQM8/ref=sspa_dk_detail_4?ie=UTF8&psc=
 8   1&pd_rd_
 9   BOWANJIE:853601185@qq,com
10
     UINPOOL US STORE yinunipool@outlook.com,yin441@outlook.com
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12   DEWFOND: Trademarks@branding-law.com
13
     DIGIGER:jailabao123@siza.com
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     MOTOBUDDY Not Currently on-line
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